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            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA
                    GREAT FALLS DIVISION


INDIGENOUS ENVIRONMENTAL                    CV-17-29-GF-BMM
NETWORK and NORTH COAST
                                            CV-17-31-GF-BMM
RIVER ALLIANCE,
    and
NORTHERN PLAINS RESOURCE
COUNCIL, et al.,
              Plaintiffs,                   SCHEDULING ORDER

    vs.
UNITED STATES DEPARTMENT
OF STATE, et al.,
              Defendants
   and
TRANSCANADA KEYSTONE
PIPELINE and TRANSCANADA
CORPORATION,
             Defendant-Intervenors.




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      The Court held a preliminary pretrial conference on this matter on October

11, 2017, at the Missouri River Federal Courthouse in Great Falls. Plaintiffs

Indigenous Environmental Network and North Coast River Alliance were

represented by Andy Patten, Stephan Volker, Jamey Volker, and Stephanie Clarke.

Plaintiffs Northern Plains Resource Council, Bold Alliance, Center for Biological

Diversity, Friends of the Earth, Natural Resources Defense Council, and Sierra

Club were represented by Douglas Hayes, Jared Margolis, Cecilia Segal, Amy

Atwood, and Timothy Bechtold. TransCanada was represented by Jeffery Oven,

Lauren Freeman, and Peter Steenland. Federal Defendants were represented by

Luther Hajek, Bridget McNeil, and Theodore Kill.

      The Court enters the following scheduling order:

 Administrative Record                       November 10, 2017

 Administrative Record with the Court        December 8, 2017

 Expert Disclosures with Reports             December 29, 2017

 Rebuttal Expert Disclosures with Reports    January 12, 2018

 Plaintiffs’ Motions for Summary             January 26, 2018
 Judgment
 Fed Defs’ cross-MSJ and Response            March 16, 2018

 Def-Int’s cross-MSJ and Response            March 23, 2018

 Plaintiffs’ Opposition and Reply to MSJ     April 20, 2018

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Fed Def’s Reply to MSJ                  May 4, 2018

Def-Int’s Reply to MSJ                  May 4, 2018

Hearing regarding all Summary Judgment May 23, 2018 at 1:30pm at Missouri
claims                                 River Courthouse


     DATED this 16th day of October, 2017.




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